     Case: 1:18-cv-07644 Document #: 16 Filed: 03/08/19 Page 1 of 3 PageID #:55



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


EMILY FRIEND, individually and on behalf         )
of a class of similarly situated individuals,    )
                                                 )
               Plaintiff,                        )   Case No. 1:18-cv-07644
                                                 )
       v.                                        )   Hon. Judge Robert W. Gettleman
                                                 )
FGF BRANDS (USA) INC., a Delaware                )   Magistrate Judge Maria Valdez
Corporation, and FGF BRANDS, INC., a             )
Canadian Corporation,                            )
                                                 )
               Defendants.                       )


            DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT


       Pursuant to Federal Rule of Civil Procedure 12(b)(2) and 12(b)(6), Defendants FGF

Brands (USA) Inc. and FGF Brands, Inc. (collectively, “Defendants”) respectfully move to

dismiss Plaintiff’s Complaint for failure to state a claim upon which relief may be granted, lack

of standing, and (as to non-Illinois claims) lack of personal jurisdiction. As set forth more fully

in the accompanying memorandum, Plaintiff’s claims are subject to dismissal for at least the

following reasons: Plaintiff fails to plausibly plead deception or materiality; Plaintiff’s

conclusory claim that she paid a premium price is inadequate; Plaintiff lacks standing as to

products she has not purchased; Plaintiff lacks standing to bring non-Illinois claims and this

Court lacks personal jurisdiction over those claims; and because Plaintiff’s unjust enrichment

claim is meritless.
     Case: 1:18-cv-07644 Document #: 16 Filed: 03/08/19 Page 2 of 3 PageID #:56



        Accordingly, Plaintiff’s Complaint should be dismissed for failure to state a claim upon

which relief may be granted, lack of standing and, as to non-Illinois claims, lack of personal

jurisdiction.



Dated: March 8, 2019                        /s/ Diana Torres
                                            Megan M. New (ARDC No. 6300422)
                                            KIRKLAND & ELLIS LLP
                                            300 North LaSalle
                                            Chicago, IL 60654
                                            Tel.: (312) 862-2000
                                            Fax: (312) 862-2200
                                            mnew@kirkland.com

                                            Diana Torres
                                            Lauren J. Schweitzer
                                            KIRKLAND & ELLIS LLP
                                            333 South Hope Street
                                            Los Angeles, CA 90071
                                            Tel.: (213) 680-8400
                                            Fax: (213) 680-8500
                                            diana.torres@kirkland.com
                                            lauren.schweitzer@kirkland.com

                                            Dale M. Cendali
                                            Joseph M. Sanderson
                                            KIRKLAND & ELLIS LLP
                                            601 Lexington Avenue
                                            New York, NY 10022
                                            Tel.: (212) 446-4800
                                            Fax: (212) 446-4900
                                            dale.cendali@kirkland.com
                                            joseph.sanderson@kirkland.com

                                            Counsel for Defendants FGF Brands (USA) Inc.
                                            and FGF Brands, Inc.




                                               2
     Case: 1:18-cv-07644 Document #: 16 Filed: 03/08/19 Page 3 of 3 PageID #:57



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2019, a true and correct copy of the foregoing

document, DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT, was

electronically filed and served upon counsel of record via the Court’s CM/ECF System.




                                           /s/ Diana Torres
                                           Diana Torres
